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 8                       UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10   ROGER McINTOSH,                     )          07-cv-01080 LJO-GSA
                                         )
11                                       )
                                         )
12                                       )
                         Plaintiff,      )
13                                       )          ORDER GRANTING CITY OF WASCO’S
             v.                          )          MOTION TO FILE SUPPLEMENTAL
14                                       )          PLEADING
     NORTHERN CALIFORNIA UNIVERSAL )
15   ENTERPRISES COMPANY, a California )
     corporation; LOTUS DEVELOPMENTS, )
16   LLP; THE CITY OF WASCO, a municipal )
     corporation; and DOES 1 through 10, )          (Document 69)
17   inclusive,                          )
                                         )
18                       Defendants.     )
                                         )
19
20
21                                         INTRODUCTION
22          On March 30, 2009, cross-complainant, City of Wasco, (Hereinafter, “City”) filed a
23   Motion Requesting Leave to File a Supplemental Pleading pursuant to Rule 15(d) of the Federal
24   Rules of Civil Procedure. No opposition to the motion was filed. A hearing was scheduled for
25   May 8, 2009, at 9:30 a.m. After reviewing the motion, the court determined that the matter is
26   suitable for decision without oral argument pursuant to Local Rule 78-230 (c) and (h). The
27   hearing on May 8, 2009, was vacated. Having considered all materials submitted, Plaintiff’s
28   Motion to File a Supplemental Pleading is GRANTED.

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 1                                  PROCEDURAL BACKGROUND
 2          Plaintiff Roger McIntosh (“Plaintiff) filed the initial complaint on July 26, 2007, citing a
 3   single cause of action against Northern California Universal Enterprises Company (Hereinafter,
 4   “NCUE”) and Lotus Development LP (“Lotus”) for copyright infringement. Doc. 1. On June
 5   12, 2008, a first amended complaint was filed pursuant to a stipulation of the parties, adding the
 6   City as a defendant, and alleging two causes of action : copyright infringement and contributory
 7   copyright infringement. Doc. 28. Plaintiff filed a second amended complaint on December 30,
 8   2008, which added Defendant Dewalt CM, Inc., as a defendant. This Court is granting Plaintiff
 9   leave to file a third amended complaint adding Dennis W. De Walt, Inc. as a defendant in an
10   order issued contemporaneously hereto.
11          After Plaintiff added the City as a defendant, the City filed a cross-complaint against
12   NCUE on July 21, 2008. Doc. 33. Subsequently, on November 18, 2008, the City filed a first
13   amended cross-complaint against NCUE alleging that NCUE was obligated to indemnify the City
14   for claims made against the City by Plaintiff. Doc. 44.
15           The City has filed the instant motion to supplement its first amended cross-claim
16   contending that NCUE’s duty to indemnify arises from two separate contracts entered into
17   between the City and NCUE : 1) a May 18, 2004, Assignment of Purchase and Sale Agreement
18   (“Purchase and Sale Agreement”), and 2) a Subdivision Agreement, dated February 20, 2007
19   (“Subdivision agreement”). The proposed supplemental cross-complaint contains additional
20   allegations related to the City’s tender of its defense to NCUE and NCUE’s refusal to defend the
21   City. The cross-complaint also contains additional contractual language in the two agreements
22   that supports its claim that NCUE is obligated to defend the City. Doc. 71, Declaration of Chaka
23   Okadigbo, dated March 30, 2009 (“Okadigbo Declaration”) at Ex. 1.
24           1. Relevant Statement of Facts
25          The City alleges that NCUE presently owns the Valley Rose Estates subdivision located
26   in the City of Wasco. NCUE purchased the property from the City in April 2004. Since that
27   time, NCUE has been developing the property, and in the process, created tentative and final
28   maps which it submitted to the City for approval. The City approved those tentative and final

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 1   maps.
 2           On or about July 24, 2007, Plaintiff filed the instant lawsuit against Defendants NCUE
 3   and Lotus. Plaintiff alleges that both defendants developed the Valley Rose Estates division by
 4   using, or copying Plaintiff’s tentative map and/or improvement plans previously prepared for the
 5   subdivision by Martin-McIntosh without permission. Plaintiff contends that the map and the
 6   plans are protected by U.S. copyright laws. Plaintiff further contends that he is the lawful owner
 7   of the map and plans pursuant to a buyout agreement with Martin-McIntosh which purportedly
 8   assigned copyright interests to Plaintiff.
 9           In the first amended cross-complaint against NCUE, the City alleged that NCUE was
10   obligated to indemnify the City for claims made against the City by McIntosh. As noted above,
11   the City contends that NCUE’s duty to indemnify stems from two separate contracts. First, under
12   the Purchase and Sale Agreement, the City alleges that NCUE was obligated to indemnify the
13   City “from and against any and all claims, demands, losses, obligations, costs and expenses
14   (including without limitation attorney’s fees and court costs) which arise out of (a) ownership or
15   operation of the Property after closing... .” Doc. 71, Purchase and Sale Agreement Sec. 8 attached
16   to Okadigbo Declaration at Ex. A. The City contends that allegations that NCUE copied or used
17   McIntosh’s copyrighted plans to develop the subdivision arise from NCUE’s ownership of the
18   property and NCUE is bound to indemnify the City in the instant lawsuit.
19           Second, under the Subdivision Agreement between the City and NCUE, NCUE is
20   obligated to indemnify the City from every “liability, claim, suit or demand which may arise or
21   may be made by reason of : 1) any act, omission, or neglect of the Subdivider[NCUE], its
22   engineers, employees, agents, or contractor... .” Doc. 71, Subdivision Agreement, Sec. 10(a),
23   attached to Okadigbo Declaration at Ex. B. The subdivision agreement also requires NCUE, “at
24   its own cost, expense, and risk,” to “defend all legal proceedings which may be brought against
25   the City ... or any liability suit, claim, or demand which it has agreed to indemnify them against
26   herein, and shall satisfy any resulting judgment that may be rendered against them. Id. at
27   Subdivision Agreement Section 10(b). The City contends that NCUE is obligated to defend the
28   City under these provisions.

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 1           Since the filing of the first amended cross-complaint, counsel for the City, Chaka
 2   Okadigbo, has contacted NCUE’s counsel, Steven J. Hassing to discuss NCUE’s obligations
 3   under the agreements. Doc. 71, Okadigbo Declaration at ¶¶ 9-10. NCUE has taken the position
 4   that it is under no obligation to indemnify the City which has necessitated the filing of the instant
 5   motion. Id.
 6                                             DISCUSSION
 7        Rule 15(d) provides that upon motion of a party the court may, upon reasonable notice and
 8 upon just terms, permit the party to serve a supplemental pleading setting forth transactions or
 9 occurrences or events that happened after the date of the pleading to be supplemented. Fed. R.
10 Civ. P. 15(d). District courts are given wide discretion when deciding whether to allow a party to
11 supplement the pleading. Keith v. Volpe, 858 F. 2d 467, 473 (9th cir. 1988). Because Rule 15(d)
12 promotes judicial economy, its use is favored. Id. Supplementation, however, may not be used to
13 introduce a separate, distinct and new cause of action. Planned Parenthood of S. Ariz. V. Neely,
14 130 F. 3d 400, 402-403 (9th Cir. 1997).
15          While the Ninth Circuit has not articulated a specific test to apply when determining
16 whether a party can supplement a pleading, there are several factors that warrant consideration: 1)
17 the relatedness of the original and supplemental complaints, 2) whether allowing supplementation
18 would serve the interests of judicial economy, 3) whether there is evidence of delay, bad faith or
19 dilatory motive on the part of the movant, or evidence of repeated failures to cure deficiencies by
20 amendments previously allowed, 4) whether amendment would impose undue prejudice upon the
21 opposing party, 5) whether amendment would be futile, 6) whether final judgment has been
22 rendered, 7) whether the district court retains jurisdiction over the case, 8) whether any prior court
23 orders impose a future affirmative duty upon the defendant, and 9) whether the proposed
24 supplemental complaint alleges that defendants defied a prior court order. San Luis & Delta-
25 Mendota Water Authority v. U.S Interior, 236 F.R.D. 491 (E.D.Cal. 2006); See also, Foman v.
26 Davis, 371 U.S. 178, 182 (1962); Keith v. Volpe, 858 F. 2d at 467; Planned Parenthood of Ariz.
27 V. Neely, 130 F. 3d. at 400.
28          The court has considered all of the factors listed above and concludes that the leave to

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 1 supplement the pleading should be granted. As a preliminary matter, no opposition to the motion
 2 was filed. Both cross-complaints allege that Plaintiff’s claims against the City are rooted in
 3 allegations of copyright infringement and both pleadings allege a single cause of action for
 4 contractual indemnity by NCUE. The only difference between the cross-complaints is elaboration
 5 on those claims.
 6            There is also no evidence of bad faith, undue delay, prejudice to the opponent, or the that
 7 amendment would be futile. To the contrary, allowing the filing of a supplemental cross-
 8 complaint would serve in the interest of judicial economy as it would be an unnecessary waste of
 9 resources if the City were to file a separate action to revisit the same issues addressed by the court.
10 It will also provide for a more comprehensive determination of the merits of the claims in this
11 case given the relationship between the parties. Furthermore, there is no prejudice to NCUE as
12 NCUE has already been put on notice of the additional allegations and has been provided with
13 discovery regarding the contractual language at issue. Moreover, the Court just recently issued
14 new deadlines in this case at the Scheduling Conference on April 16, 2009, which further
15 minimizes any prejudice to NCUE. Finally, the court will retain jurisdiction of the case if
16 supplementation is allowed. There has been no final judgment entered in this case, or prior court
17 orders imposing an affirmative duty on the defendant, nor does the supplemental cross-complaint
18 allege that NCUE defied a prior court order.
19                                              CONCLUSION
20            Accordingly, for the above reasons, IT IS HEREBY ORDERED as follows :
21            1)       The City’s Motion for Leave to File a Supplemental Pleading is GRANTED; and
22            2)       The Clerk of the Court is DIRECTED TO FILE the second amended cross-
23                     complaint which is attached as Exhibit 1 to Doc. 71.
24
25            IT IS SO ORDERED.
26            Dated:      May 20, 2009                       /s/ Gary S. Austin
     6i0kij                                             UNITED STATES MAGISTRATE JUDGE
27
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